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 3
 4                                 UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6                                                   ***
 7   UNITED STATES OF AMERICA,                             )
                                                           )        Case No. 2:14-cr-00321-GMN-NJK
 8                          Plaintiff,                     )
                                                           )
 9   vs.                                                   )        REPORT & RECOMMENDATION
                                                           )
10   KEITH WILLIAMS,                                       )
                                                           )        (Docket No. 132)
11                          Defendant.                     )
                                                           )
12
13          This matter was referred to the undersigned Magistrate Judge on Defendant Keith Williams’
14   Motion to Suppress Evidence. Docket No. 132. The Court has considered Defendant’s motion, and
15   the United States’ response and supplement. Docket Nos. 132, 133, 135.
16          On November 12, 2015, the Court held a hearing on Defendant’s motion to appoint new
17   counsel. Docket No. 119. At that hearing, after engaging in in camera discussions with Defendant
18   and his counsel, the Court allowed Defendant the limited opportunity to file up to four motions pro
19   se. Id. The Court ordered that Defendant must file these motions no later than December 15, 2015,
20   and set a briefing schedule for responses and replies. Id. Defendant failed to file any motions by
21   December 15, 2015. See Docket.
22          On December 29, 2015, the Court held a hearing prompted by a letter written by Defendant.
23   Docket No. 128. At that hearing, after again engaging in in camera discussions with Defendant and
24   his counsel, the Court extended the deadline for Defendant to file up to four motions pro se to
25   January 8, 2016, and set a further briefing schedule for responses and replies. Id. On January 13,
26   2016, five days after his deadline, Defendant filed the pending motion to suppress. Docket No. 132.
27   On January 25, 2016, the United States filed its response. Docket No. 133.1 Despite the late nature
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              On January 27, 2016, the Court issued an order requiring the United States to supplement
     its response with points and authorities. On January 28, 2016, the United States filed its supplement.
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 1   of these filings, the Court considers them on their merits.
 2   I.        BACKGROUND2
 3             Beginning in June 2014, Las Vegas Metropolitan Police Department (“LVMPD”)
 4   investigators became aware of a series of armed robberies that they believed were committed by the
 5   same suspects. Docket No. 1 at 3. The suspects in each of the robberies bore the same physical
 6   characteristics, and wore similar or the same clothing in the different robberies. Id. During one of
 7   the robberies, prior to July 13, 2014, the getaway vehicle was captured on surveillance video and was
 8   identified as a dark-colored, late 1990s model Ford Crown Victoria or Mercury Grand Marquis. Id.
 9   at 3-4.
10             On July 13, 2014, a robbery occurred at a Circle K and a Mini-Mart, and investigators
11   determined from the Circle K surveillance footage that the robbers “appeared and operated in a
12   manner consistent with those of the prior robberies.” Id. at 4. A few minutes after the Mini-Mart
13   robbery, LVMPD patrol officers observed a vehicle that matched the description of the getaway car
14   a short distance from the Mini-Mart. Id.; Docket No. 133-2 at 1. Officers followed the vehicle for
15   a time, until backup arrived, and then activated their overhead lights and siren in order to stop the
16   vehicle. Id. The vehicle rapidly accelerated and began driving at a high rate of speed while police
17   followed it. Id. at 1-2. Eventually, the driver lost control of the vehicle and smashed into a curb, bus
18   bench, and landscaping, causing the vehicle to proceed on only two tires, for approximately 10 feet.
19   Id. The driver regained control of the vehicle and continued driving in traffic at approximately 70
20   miles per hour. Id. The driver again lost control of the vehicle, causing it to come to a complete
21   stop, at which time, three suspects ran from the vehicle. Id.
22             Defendant, who had been seated in the backseat of the vehicle, ran south and hopped over
23   an eight-foot wall. Docket No. 133-3 at 8. He was found hiding inside a locked cargo van. Id.
24   Defendant was arrested and transported to Headquarters, where he gave a post-Miranda statement
25
26   Docket No. 135.
27             2
             The Court derives its factual background from the law enforcement report and search
     warrant affidavit attached to the United States’ response, as well as the Complaint filed in the instant
28   case. Docket Nos. 1, 133-1, 133-2.

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 1   admitting to his involvement in 16 business robberies. Id. The clothing that Defendant and the
 2   other two men in the vehicle were wearing at the time of their arrests was consistent with the
 3   clothing of the three robbers in the video surveillance of the Circle K robbery that day. Docket No.
 4   1 at 5.
 5             Defendant now asks the Court to suppress his arrest and the stop of the vehicle. Docket No.
 6   132. Defendant alleges that, on July 30, 2014, his charges were dismissed in state court. Id. at 2.
 7   On July 31, 2014, as he was being released from a state detention facility, he was arrested on federal
 8   charges and transported to the custody of the United States Marshal. Id. Defendant alleges that no
 9   arrest warrant issued, which violated his Fourth Amendment rights. Id. Defendant further alleges
10   that the stop of the vehicle in which he was riding was illegal, as it was based on an anonymous tip.
11   Id.
12             In response, the United States submits that Defendant was arrested pursuant to a federal
13   criminal complaint. Docket No. 133 at 1. The United States contends that Defendant’s arrest
14   complied with the requirements of Federal Rule of Criminal Procedure 5(b). Id. at 1-2.
15   II.       ANALYSIS
16             A.     Warrantless Arrest
17             On July 29, 2014, United States Magistrate Judge Peggy A. Leen found that probable cause
18   existed and issued a criminal complaint charging Defendant with Conspiracy to Interfere with
19   Commerce by Robbery, in violation of Title 18, United States Code, Section 1951; Brandishing a
20   Firearm in Furtherance of a Crime of Violence, in violation of Title 18 United States Code, Sections
21   924(c)(1)(A)(ii) and (iii) and 2; and Interference with Commerce by Robbery, in violation of Title
22   18, United States Code, Sections 1951 and 2. See Docket No. 1. On July 31, 2014, Defendant made
23   his initial appearance in this Court before Judge Leen. Docket No. 11.
24             Federal Rule of Criminal Procedure 5(b) states that “[i]f a defendant is arrested without a
25   warrant, a complaint meeting Rule 4(a)’s requirement of probable cause must be promptly filed in
26   the district where the offense was allegedly committed.” Under the Fourth Amendment, a
27   warrantless arrest requires probable cause. Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir. 2011).
28   When agents make a warrantless arrest, they must file a complaint “‘promptly’ in the district where

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 1   the offense was allegedly committed. Probable cause to arrest exists when officers have knowledge
 2   or reasonably trustworthy information sufficient to lead a person of reasonable caution to believe that
 3   an offense has been or is being committed by the person being arrested.” United States v. Lopez, 482
 4   F.3d 1067, 1072 (9th Cir. 2007).
 5           A complaint, which is a judicial determination of probable cause, generally requires a factual
 6   analysis of “the totality of the circumstances known to the officers at the time of the [arrest].” Lacey
 7   v. Maricopa Cnty., 693 F.3d 896, 918 (9th Cir. 2012) (en banc) (“Lacey II” ). In assessing probable
 8   cause, the court must also “take into account reasonable inferences.” United States v. Struckman,
 9   603 F.3d 731, 740 (9th Cir. 2010). Federal Rule of Criminal Procedure 5(b) requires that a
10   complaint be filed either before, or shortly after, a suspect is arrested.” United States v. Bueno-
11   Vargas, 383 F.3d 1104, 1107 (9th Cir. 2004).
12           In this case, Judge Leen made a judicial determination of probable cause on July 29, 2014.
13   Docket No. 1. Defendant alleges that he was arrested on these charges on July 31, 2014. Docket
14   No. 132 at 2. The United States, therefore, complied with the caselaw and the federal rules in
15   arresting Defendant on the complaint.
16           B.      Stop of Vehicle
17           Defendant next submits that the stop of the vehicle in which he was riding was illegal, and
18   asks the Court to suppress it. Docket No. 132 at 2. Defendant contends that the initial stop was
19   based upon an anonymous tip, and that the vehicle committed no traffic violations; therefore, it was
20   illegally stopped. Id. The United States responds that, contrary to Defendant’s assertions, law
21   enforcement “knew that suspects in a series of robberies were using a getaway vehicle matching the
22   description of the vehicle” in which Defendant was a passenger. Docket No. 133 at 2. When law
23   enforcement attempted to stop the vehicle, it rapidly accelerated and led law enforcement on a chase,
24   with the driver losing control of the vehicle on two separate occasions. Id. When the vehicle finally
25   stopped, Defendant and the other occupants fled on foot. Id. The United States therefore submits
26   that the stop was reasonable. Id.
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 1          “A person is seized by the police and thus entitled to challenge the government’s action under
 2   the Fourth Amendment when an officer, ‘by means of physical force or show of authority,’
 3   terminates or restrains his freedom of movement.” Brendlin v. California, 551 U.S. 249, 254 (2007)
 4   (quoting Florida v. Bostick, 501 U.S. 429, 434 (1991)). In Fourth Amendment terms, a traffic stop
 5   entails a seizure of the driver “even though the purpose of the stop is limited and the resulting
 6   detention quite brief.” Delaware v. Prouse, 440 U.S. 648, 653,(1979); see also Whren v. United
 7   States, 517 U.S. 806, 809-810 (1996) (“Temporary detention of individuals during the stop of an
 8   automobile by the police, even if only for a brief period and for a limited purpose, constitutes a
 9   ‘seizure’ of ‘persons' within the meaning of [the Fourth Amendment]”). Even brief temporary
10   detention of individuals for a limited purpose in a traffic stop constitutes a seizure for purposes of
11   the Fourth Amendment. See United States v. Martinez-Furerte, 428, U.S. 543, 556 (1976); United
12   States v. Brignoni-Ponce, 422 U.S. 873, 878 (1975); United States v. Garcia, 205 F.3d 1182, 1187
13   (9th Cir. 2000).
14          Law enforcement officers “may briefly stop a moving automobile to investigate a reasonable
15   suspicion that its occupants are involved in criminal activity.” United States v. Grigg, 498 F.3d
16   1070, 1074 (9th Cir. 2007). As long as there is an objectively reasonable basis to perform a traffic
17   stop, the stop will be permitted by the Fourth Amendment. United States v. Morales, 252 F.3d 1070,
18   1074 (9th Cir. 2001) (citing Whren v. United States, 517 U.S. 806, 813 (1996)).
19          The Ninth Circuit defines “reasonable suspicion” as “specific, articulable facts which,
20   together with objective and reasonable inferences, form the basis for suspecting that the particular
21   person detained is engaged in criminal activity.” United States v. Rojas-Millan, 234 F.3d 464, 468-
22   69 (9th Cir. 2000) (quoting United States v. Lopez-Soto, 205 F.3d 1101, 1105 (9th Cir. 2000)). A
23   police officer “is entitled to rely on his training and experience in drawing inferences from the facts
24   he observes, but those inferences must also ‘be grounded in objective facts and be capable of rational
25   explanation.’” Lopez-Soto, 205 F.3d at 1105 (quoting United States v. Michael R., 90 F.3d 340, 346
26   (9th Cir. 1996)). If an officer does not have reasonable suspicion, and the traffic stop therefore
27   violates the Fourth Amendment, any evidence obtained as a result of the stop must be suppressed
28   as fruit of the poisonous tree. United States v. Thomas, 211 F.3d 1186, 1192 (9th Cir. 2000) (citing

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 1   Wong Sun v. United States, 371 U.S. 471, 484-85 (1963)).
 2           The Supreme Court has held that police contact during an investigatory detention must be
 3   reasonably related to the circumstances that initially justified the detention. United States v. Sharpe,
 4   470 U.S. 675, 682 (1985). “The length and scope of detention must be justified by the circumstances
 5   authorizing its initiation.” Pierce v. Multnomah County, 76 F.3d 1032, 1038 (9th Cir. 1996) (citing
 6   Terry v. Ohio, 392 U.S. 1, 16, 19 (1968)). The Ninth Circuit has held that “An officer must initially
 7   restrict the questions he asks during a stop to those that are reasonably related to the justification for
 8   the stop.” United States v. Perez, 37 F.3d 510, 513 (9th Cir. 1994).
 9           In this case, law enforcement had been investigating a series of armed robberies, that
10   appeared to have been committed by the same three people, for approximately a month. In a prior
11   robbery, law enforcement obtained video of the getaway car, and thus had a probable description.
12   On this date, two robberies had occurred, and law enforcement had viewed the surveillance video
13   for one of the robberies. The car in which Defendant was a passenger, which matched the
14   description of the getaway car, was observed near the location of the latter robbery of the morning.
15   When police attempted to stop the vehicle, it led police on a high-speed chase, with the driver
16   eventually losing control of the car twice, crashing into objects, and high centering on a median.
17   Once the vehicle finally stopped, Defendant ran on foot away from the vehicle, hopping over a wall,
18   in order to further evade law enforcement. When he was found hiding inside a locked cargo van,
19   Defendant matched the description of one of the robbers, and his clothing was consistent with the
20   clothing of one of the three robbers in the video surveillance of the Circle K robbery that day.
21           The Court therefore finds, based on all the facts as stated above, that reasonable suspicion
22   clearly existed to stop the vehicle in which Defendant was riding. Further, based upon the
23   circumstances as they developed during law enforcement’s attempt to stop the vehicle, the detention
24   of Defendant was reasonable and based upon probable cause. The Court therefore finds that the stop
25   did not violate any of Defendant’s rights.
26   ....
27   ....
28   ....

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 1   III.     CONCLUSION
 2            Based on the foregoing and good cause appearing therefore,
 3            IT IS RECOMMENDED that Defendant’s Motion to Suppress (Docket No. 132) be
 4   DENIED.
 5                                                 NOTICE
 6            Pursuant to Local Rule IB 3-2 any objection to this Report and Recommendation must
 7   be in writing and filed with the Clerk of the Court within 14 days of service of this document.
 8   The Supreme Court has held that the courts of appeal may determine that an appeal has been waived
 9   due to the failure to file objections within the specified time. Thomas v. Arn, 474 U.S. 140, 142
10   (1985). This Circuit has also held that (1) failure to file objections within the specified time and (2)
11   failure to properly address and brief the objectionable issues waives the right to appeal the District
12   Court’s order and/or appeal factual issues from the order of the District Court. Martinez v. Ylst, 951
13   F.2d 1153, 1157 (9th Cir. 1991); Britt v. Simi Valley United Sch. Dist., 708 F.2d 452, 454 (9th Cir.
14   1983).
15            DATED this 2nd day of February, 2016.
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18
                                                     NANCY J. KOPPE
19                                                   United States Magistrate Judge
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